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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA

In re:   Gerardo Melgar                                          Case No.: 23-10845-LMI
                                                                 Chapter 13
                    Debtor(s)                  /

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Amended Agreed

Order to Employer To Deduct And Remit And For Related Matters was sent to all parties

on the attached service list on January 18, 2024.

Electronically: Nancy K. Neidich, Trustee

First Class Mail:

Debtor(s), Gerardo Melgar
1981 NW 37 Avenue
Miami, FL 33125

Masaveu & Co Management Real Estate
ATTN: PAYROLL DEPARTMENT
601 Brickell Key Drive #101      Jose A. Blanco, P.A.
Miami. FL 33131                  By: /s/ Jose A. Blanco | FBN: 062449
                                 Attorney for Debtor(s)
Respectfully submitted:          102 E 49th ST
January 18, 2024                 Hialeah, FL 33013,
                                 Tel. (305) 349-3463
                                 E-mail: jose@blancopa.com
